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                     UNITED STATES DISTRICT COURT
                                   District of Kansas
                                  (Kansas City Docket)


UNITED STATES OF AMERICA,

                            Plaintiff,

                v.                                 CASE NO.      23-20010-DDC/TJJ
                                                   Filed Under Seal
CYRIL GREGORY BUYANOVSKY,
    a.k.a. KIRILL BUYANOVSKY,

                                   and

DOUGLAS EDWARD ROBERTSON,

                            Defendants.




                                  INDICTMENT

       THE GRAND JURY CHARGES:

       At all times material to this Indictment:

                                     BACKGROUND

       1.       Since at least October 2020 to the present, CYRIL GREGORY

BUYANOVSKY, a/k/a Kirill Buyanovsky, and DOUGLAS EDWARD ROBERTSON,

the defendants, conspired to circumvent U.S. export laws and regulations in order to sell,


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repair, and ship from the United States sophisticated avionics equipment to customers

around the world that operate Russian-built aircraft. Avionics are the electronics

installed in aircraft and can include communications, navigation, flight control, and threat

detection systems.

       2.       In the course of exporting avionics equipment from the United States

through their company, KanRus Trading Company Inc. (“KanRus”), which is located in

the District of Kansas, BUYANOVSKY and ROBERTSON repeatedly concealed and

misstated the true end users, value, and end destinations of their exports by creating false

invoices; submitting false information on export documents; failing to file required

export documents; transshipping items through third-party countries, such as Germany,

the United Arab Emirates (“UAE”), Cyprus, and Armenia; exporting items to

intermediary companies that then reexported the items to the ultimate end destinations;

and receiving payments from foreign bank accounts located in the UAE, Cyprus, Russia,

and Armenia.

       3.       After the Russian Federation’s unprovoked invasion of Ukraine on

February 24, 2022, and the imposition of additional restrictions on the export of avionics

from the United States to Russia, BUYANOVSKY and ROBERTSON continued to

export avionics to Russia despite knowing that such exports required a license from the

U.S. Department of Commerce, which they neither sought nor obtained.

                                 Individuals and Companies

       4.       The defendant CYRIL GREGORY BUYANOVSKY, also known as Kirill

Buyanovsky, was a naturalized U.S. citizen who resided in Douglas County, Kansas.

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BUYANOVSKY was the president and owner of KanRus. BUYANOVSKY previously

worked at an avionics manufacturer as an engineer.

       5.       The defendant DOUGLAS EDWARD ROBERTSON was a U.S. citizen

who resided in Johnson County, Kansas. ROBERTSON was a commercial pilot and

operated KanRus with BUYANOVSKY.

       6.       KanRus was registered in the District of Kansas and supplied Western

avionics equipment, including U.S.-origin equipment, and repair services for Russian-

manufactured aircraft.

       7.       “Russian Company-1” was located in Moscow, Russia and was a Russian

aircraft parts distributor. “Individual-1,” whose identity is known to the Grand Jury, was

a Russian national and the chief executive officer of Russian Company-1.

       8.       “Russian Company-2” was located in Krasnodar, Russia and provided

aerial services using its fleet of helicopters. “Individual-2,” whose identity is known to

the Grand Jury, was an engineer working for Russian Company-2.

       9.       “Russian Company-3” was located in Moscow, Russia and was a Russian

aircraft maintenance, repair, and overhaul company. “Individual-3,” whose identity is

known to the Grand Jury, was an intermediary who negotiated and processed orders from

Russian Company-3 for KanRus, BUYANOVSKY, and ROBERTSON.

       10.      “Russian Company-4” was located in Moscow, Russia and was a Russian

aircraft parts distributor. “Individual-3” was an intermediary who negotiated and

processed orders from Russian Company-4 for KanRus, BUYANOVSKY, and

ROBERTSON.

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       11.    “UAE Company-1” was located in Ajman, UAE and was a trading

company that sent KanRus funds on behalf of Russian Company-3.

       12.    “German Company-1” was located in Schöneck, Germany and was a

logistics company that Russian Company-3 used to send and receive avionics equipment

to and from KanRus in the United States.

       13.    “Armenian Company-1” was located in Yerevan, Armenia and was a

company that Russian Company-1 used to transship avionics equipment to Russia.

                        The Statutory and Regulatory Background

      The Export Control Reform Act and Export Administration Regulations

       14.    The Export Administration Regulations (“EAR”), Title 15, Code of Federal

Regulations, Sections 730-774, were promulgated by the United States Department of

Commerce, Bureau of Industry and Security (“BIS”) to regulate the export of goods,

technology, and software from the United States. Under the Export Control Reform Act

(“ECRA”), it was a crime to violate, attempt to violate, conspire to violate, or cause a

violation of any regulation, order, license, or authorization issued pursuant to the statute,

including the EAR, according to Title 50, United States Code, Section 4819(b). Willful

violations of the EAR constituted criminal offenses under the ECRA, as provided in Title

50, United States Code, Section 4819(b).

       15.    Through the EAR, BIS reviewed and controlled the export of certain items

from the United States to foreign countries in accord with Title 15, Code of Federal

Regulations, Sections 734.2-3. In particular, BIS placed restrictions on the export and

reexport of items that it determined could make a significant contribution to the military

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potential of other nations or that could be detrimental to the foreign policy or national

security of the United States. Under the EAR, such restrictions depended on several

factors, including the technical characteristics of the item, the destination country, the end

user, and the end use of the item.

         16.   The most sensitive items subject to the EAR controls were identified on the

Commerce Control List (“CCL”) set forth in Title 15, Code of Federal Regulations, part

774, Supplement Number 1. Items listed on the CCL were categorized by an Export

Control Classification Number (“ECCN”), each of which was subject to export control

requirements depending on destination, end use, and end user of the item.

         17.   On February 24, 2022, in response to the Russian Federation’s unprovoked

invasion of Ukraine, the U.S. Department of Commerce imposed new license

requirements on exports and reexports to Russia. As of February 24, 2022, any item

classified under any ECCN in Categories 3 through 9 of the CCL required a license to be

exported to Russia. See Volume 87, Federal Register, Page 12226 (published Mar. 3,

2022).

                           The Commerce Control List Items

         18.   A Traffic Alert and Collision Avoidance System (“TCAS”), or airborne

collision avoidance system, is a family of airborne devices that function independently of

the ground-based air traffic control system and provide collision avoidance protection for



a broad spectrum of aircraft types. A TCAS is composed of many components, including

a computer processor unit, transponders, control and display panels, and antennas.

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       19.    During the relevant period, certain components of a TCAS were on the

CCL and classified by BIS under ECCN 7A994 (other navigation direction finding

equipment, airborne communication equipment, all aircraft inertial navigation systems

not controlled under 7A003 or 7A103, and other avionic equipment, including “parts”

and “components”).

       20.    During the relevant time period, the following avionics were on the CCL

and classified by BIS under ECCN 7A994 (navigation/communication systems):

Honeywell BendixKing KI-203 installation kit, Honeywell BendixKing KT-74

transponder, and Honeywell BendixKing KA-61 L-Band antenna. As of February 24,

2022, an export license was required from the Department of Commerce to export these

avionics to Russia.

                              Export and Shipping Records

       21.    Pursuant to U.S. law and regulations, exporters or their authorized agents,

such as shippers or freight forwarders, are required to file certain forms and declarations

concerning the export of goods and technology from the United States. Typically, those

documents are filed electronically through the Automated Export System (“AES”), which

is administered by the U.S. Department of Homeland Security, Customs and Border

Protection (“CBP”).

       22.    The Electronic Export Information (“EEI”) (formerly known as the

Shipper’s Export Declaration (“SED”)) is the required documentation submitted to the

U.S. Government through the AES in connection with an export shipment from the

United States. Exporters or their authorized agents are required to file accurate and

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truthful EEI for every export of goods from the United States with a value of $2,500 or

more. An EEI also is required regardless of the value of the goods if the goods require an

export license. Title 15, Code of Federal Regulations, Sections 758.1, 30.2

       23.      A material part of the EEI and AES, as well as other export filings, is

information concerning the end user and ultimate destination of the export. The identity

of the end user may determine whether the goods: (a) may be exported without any

specific authorization or license from the U.S. Government; (b) may be exported with the

specific authorization or license from the U.S. Government; or (c) may not be exported

from the United States.

       24.      As of June 29, 2020, all exports to Russia of items on the CCL, regardless

of value, required an EEI filing. Title 15, Code of Federal Regulations, Section

758.1(b)(10).

       25.      The purpose of these requirements is to strengthen the U.S. Government’s

ability to prevent the export of certain items to unauthorized destinations and end users

because the EEI and AES aid in targeting, identifying, and when necessary, confiscating

suspicious or illegal shipments before exportation. Title 15, Code of Federal

Regulations, Section 30.1(b).

                                         COUNT 1

          CONSPIRACY TO COMMIT OFFENSES AGAINST THE UNITED STATES
                               [18 U.S.C. § 371]

       26.      Paragraphs 1 to 25 of the introductory allegations are restated and realleged

as if set forth herein.


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      27.     Between at least in or about 2020 and continuing to the present, the exact

dates being unknown to the Grand Jury, in the District of Kansas and elsewhere, the

defendants,

              CYRIL BUYANOVSKY, a.k.a. KIRILL BUYANOVSKY,
                                 and
                     DOUGLAS EDWARD ROBERTSON,

did knowingly and willfully combine, conspire, confederate, and agree with each other

and with others known and unknown to the Grand Jury, including individuals associated

with Russian Company-1, Russian Company-2, Russian Company-3, and Russian

Company-4, to commit offenses against the United States, that is:

              a.    to willfully export and cause the exportation of goods from the

      United States to Russia without first having obtained the required licenses from

      the Department of Commerce in violation of Title 50, United States Code, Section

      4819(a), and Title 15, Code of Federal Regulations, Section 764.2;

              b.    to knowingly fail to file and submit false and misleading export

      information through the EEI and the AES, and cause the same, in violation of Title

      13, United States Code, Section 305, and Title 15, Code of Federal Regulations,

      Section 30.71; and

              c.    to fraudulently and knowingly export and send and attempt to export

      and send from the United States merchandise, articles, and objects contrary to laws

      and regulations of the United States, and receive, conceal, buy, sell, and facilitate

      the transportation, concealment, and sale of such merchandise, articles, and

      objects, prior to exportation, knowing the same to be intended for exportation

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contrary to laws and regulations of the United States, in violation of Title 18,

United States Code, Section 554.

                           Objects of the Conspiracy

28.       The objects of the conspiracy were:

          a.    to acquire avionics equipment that was manufactured and sold in the

United States on behalf of entities that operated Russian-built aircraft in Russia

and other countries;

          b.    to repair and recertify in the United States avionics equipment that

was used in Russian-built aircraft located and operated outside of the United

States;

          c.    to export avionics equipment from the United States directly and

indirectly, to Russia and Russian end users located in other countries;

          d.    to conceal the prohibited activities and transactions from detection

by the U.S. Government so as to avoid penalties and disruption of the illegal

activities;

          e.    to profit through these illegal activities; and

          f.    to evade the prohibitions and licensing requirements of the ECRA

and EAR.




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                         Manner and Means of the Conspiracy

       29.    Defendants BUYANOVSKY and ROBERTSON and other co-conspirators

known and unknown to the Grand Jury used the following manner and means, among

others, to accomplish the objects of the conspiracy:

              a.     BUYANOVSKY, ROBERTSON, and other co-conspirators,

       including individuals associated with Russian Company-1, Russian Company-2,

       Russian Company-3, and Russian Company-4, used email and other means to

       communicate;

              b.     Individuals associated with Russian Company-1, Russian Company-

       2, Russian Company-3, and Russian Company-4 solicited quotes from and

       negotiated with BUYANOVSKY and ROBERTSON for the purchase and repair

       of U.S. avionics equipment for Russian customers and customers that operated

       Russian-built aircraft;

              c.     BUYANOVSKY and ROBERTSON purchased items from

       companies in the United States to fulfill orders from Russian customers, including

       by providing false information to the U.S. companies;

              d.     BUYANOVSKY and ROBERTSON used coded language in their

       email communications to conceal their illegal conduct;

              e.     BUYANOVSKY, ROBERTSON, and other co-conspirators,

       including individuals associated with Russian Company-1, Russian Company-2,

       and Russian Company-3, arranged for shipment of the U.S. goods from the United



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      States to transshipment points in Germany, the UAE, Cyprus, and Armenia to

      conceal the true end users and end destinations;

             f.     BUYANOVSKY and ROBERTSON falsified export and shipping

      records regarding shipments from the United States, including by providing false

      and misleading information to the shippers and freight forwarders, to conceal the

      true value of the goods, the ultimate destination of the goods, and the ultimate end

      user of the goods;

             g.     Individuals associated with Russian Company-1, Russian Company-

      2, and Russian Company-3 transferred funds for the purchase and shipment of the

      goods through bank accounts in the UAE, Russia, Cyprus, and Armenia to

      KanRus’s bank account in the United States; and

             h.     BUYANOVSKY, ROBERTSON, and other co-conspirators,

      including individuals associated with Russian Company-1, caused the U.S. goods

      to be exported from the United States to individuals and entities in Russia without

      obtaining the required licenses from the Department of Commerce.

                     Overt Acts in Furtherance of the Conspiracy

      30.    In furtherance of the conspiracy and to achieve the objects thereof,

Defendant BUYANOVSKY, Defendant ROBERTSON, and others committed and

caused to be committed the following overt acts, among others, in the District of Kansas

and elsewhere:




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             February 4, 2021 Export to Russian Company-2 in South Sudan

      31.    On or about October 14, 2020, Individual-2, an engineer at the helicopter

company Russian Company-2, sought a quote to repair a computer component of a TCAS

that was located in South Sudan. After BUYANOVSKY advised that the component

could not be imported from or exported to South Sudan, BUYANOVSKY and

Individual-2 agreed to ship the component from and return it to the UAE.

      32.     On or about November 11, 2020, Individual-2 emailed a draft invoice to

BUYANOVSKY, which BUYANOVSKY then forwarded to ROBERTSON and asked

him to look at before the component was shipped. The invoice listed the customer as a

UAE company, did not mention Russian Company-2 or South Sudan, and falsely listed

the value of the component as $100.

      33.    On or about November 11, 2020, BUYANOVSKY emailed the

aforementioned invoice back to Individual-2, along with a separate stamped invoice that

listed the true value of the transaction as $10,950. Individual-2 responded and asked

whether the value of the component could be undervalued on the shipping invoice (i.e.,

the invoice that would accompany the component when it was shipped) to lower the

customs fees at the destination. BUYANOVSKY agreed to lower the value on the

shipping invoice.

      34.    On or about November 25, 2020, Russian Company-2 made a payment

from a Cypriot bank account to KanRus’s bank account for this export.




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       35.    On or about December 5, 2020, Russian Company-2 shipped the TCAS

computer component from the UAE to KanRus in the District of Kansas. The reported

U.S. customs value on the shipment was $100.

       36.    Upon receipt of the TCAS computer component, BUYANOVSKY emailed

a U.S. company to request pricing for the repair. During those communications, the U.S.

company requested that BUYANOVSKY complete an end-use and end-user statement.

BUYANOVSKY forwarded the request to Individual-2, who completed and returned the

statement. BUYANOVSKY then forwarded the end-use and end-user statement to the

U.S. company. The statement claimed, among other things, that Russian Company-2 was

the end user and that the component would be delivered to Russia. The statement failed

to mention South Sudan.

       37.    On or about February 4, 2021, BUYANOVSKY and ROBERTSON

exported the repaired TCAS computer component to the address of another UAE

company that Individual-2 had provided to BUYANOVSKY.

       38.    On or about February 4, 2021, BUYANOVSKY caused the shipper to fail

to file an EEI in connection with this export.

                  February 26, 2021 Export to Russian Company-3 in Russia

       39.    On or about November 11, 2020, Individual-3 from Russian Company-3

emailed ROBERTSON a list of avionics equipment for KanRus to repair in the United

States, along with a shipping label that showed the equipment being shipped from

German Company-1 to KanRus. Individual-3 also sent ROBERTSON a proforma



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customs invoice that valued the equipment at $380 and listed the shipper as a UAE

company that had the same name as Russian Company-3.

       40.    On or about November 20, 2020, ROBERTSON emailed Individual-3 and

described the specific pieces of avionics equipment that he had received from Individual-

3. One of the pieces of equipment was a TCAS computer processor called a TPU.

Regarding the TPU, ROBERTSON wrote, “TPU has a ФСБ [i.e., FSB] sticker on it!!!”

In response, Individual-3 wrote, “Interesting about sticker, you can remove and after stick

on back?” FSB is the acronym for the Federal Security Service of the Russian

Federation, which is the principal intelligence and security agency of the Russian

government.

       41.    On or about January 27, 2021, ROBERTSON emailed Individual-3 an

invoice for the repairs with a total value of $28,769. The invoice listed German

Company-1 as the recipient company and UAE Company-1 as the payor company.

       42.    On or about February 9, 2021, UAE Company-1 made a payment to

KanRus’s U.S. bank account for this export.

       43.    The next day, on or about February 10, 2021, Individual-3 emailed

ROBERTSON a proposed “shipping” invoice that undervalued the repaired goods at

$3,645.

       44.    On or about February 25, 2021, ROBERTSON asked Individual-3, “can I

change value to less than $2500? Less paperwork for me.”




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       45.      On or about February 26, 2021, ROBERTSON exported some of the

repaired avionics equipment to German Company-1, specifically the TPU processor and a

radar sensor.

       46.      On or about February 26, 2021, ROBERTSON sent Individual-3 a copy of

the shipping label and invoice that undervalued the equipment at $2,275.

       47.      On or about February 26, 2021, ROBERTSON caused the shipper to fail to

file an EEI in connection with this export.

             April 1, 2021 Export of Large Avionics Shipment to Russian Company-3

       48.      On or about January 20, 2021, Individual-3 emailed ROBERTSON to ask

for a quote for an order of multiple avionics components, including a TPU processor,

antennas, and transponders. ROBERTSON provided a quote and asked, “When is

[Russian Company-3] wanting to pay?”

       49.      On or about January 27, 2021, ROBERTSON emailed Individual-3 a

stamped invoice for the shipment valuing the goods at $159,625. As with the February

26, 2021 export, UAE Company-1 was listed as the payor company and German

Company-1 was listed as the recipient company.

       50.      On or about February 8, 2021, UAE Company-1 sent $159,625 to

KanRus’s U.S. bank account. Later that day, BUYANOVSKY emailed ROBERTSON

and told him that the order was “fully funded to the tune of 159625 this morning.”

       51.      After on or about February 8, 2021, ROBERTSON and BUYANOVSKY

proceeded to purchase the avionics equipment from U.S. companies.



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       52.     On or about March 29, 2021, ROBERTSON emailed a freight forwarder an

invoice for this shipment that listed the value of the goods as $6,118 and the recipient as

Germany Company-1. ROBERTSON also attached a Shipper’s Letter of Instructions

that identified German Company-1 as the ultimate consignee and incorrectly listed the

ECCN for the components as EAR99.

       53.     On or about April 1, 2021, ROBERTSON caused the avionics equipment to

be exported.

       54.     On or about April 1, 2021, ROBERTSON caused the shipper to file a false

and misleading EEI that listed the value of the export as $6,118 and the ultimate

consignee as Germany Company-1 when, in fact, the avionics shipment was valued at

$159,625 and was destined for Russian Company-3.

             February 28, 2022 Attempted Export to Russian Company-1 and Detention

       55.     On or about February 7, 2022, Individual-1 placed an order with

BUYANOVSKY to order Honeywell BendixKing KT-74 transponders from a U.S.

company and ship them to Russia. Individual-1 also told BUYANOVSKY that after

BUYANOVKSY received the transponders from the U.S. supplier and received payment

from Individual-1, the transponders needed to be sent to Individual-1 in Russia.

       56.     On or about February 10, 2022, Russian Company-1 made a payment from

a Russian bank account to KanRus’s bank account for four KT-74 transponders.

       57.     On or about February 18, 2022, Russian Company-1 made a payment from

a Russian bank account to KanRus’s bank account for four more KT-74 transponders.



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       58.    On or about February 28, 2022, ROBERTSON attempted to export the

eight KT-74 transponders to Russian Company-1 in Russia, but the shipment was

detained by the U.S. Government, after which BIS directly informed ROBERTSON that

a license was required to export the KT-74 transponders to Russia.

                      April 29, 2022 Export to Laos for Russian Company-4

       59.    On or about January 27, 2022, Individual-3 sent ROBERTSON an invoice

to purchase two Honeywell BendixKing KT-74 transponders, two Honeywell

BendixKing KN-53 navigation receivers, and two Honeywell BendixKing KN-53

installation kits and export them to Russian Company-4 in Russia for $27,806.

       60.    On or about January 31, 2022, Russian Company-4 made a payment from

its Russian bank account to KanRus’s U.S. bank account for this export.

       61.    On or about March 8, 2022, after Russia’s invasion of Ukraine, the U.S.

Government’s imposition of additional restrictions on exports and reexports to Russia,

and the U.S. Government’s detention of KanRus’s attempted export to Russian

Company-1, ROBERTSON emailed BUYANOVSKY. ROBERTSON attached a

proposed letter to send to Individual-3, which described the current options for shipping

as either shipping within the U.S. or shipping to a company in a neutral country that was

not a logistics company and did not have ties to Russia.

       62.    On or about March 8, 2022, ROBERTSON emailed the “shipping options”

letter to Individual-3.




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       63.     After on or about March 8, 2022, ROBERTSON and Individual-3

exchanged emails discussing possible shipping options, including whether specific

companies in the UAE or Laos would be acceptable recipients.

       64.     On or about March 30, 2022, Individual-3 sent ROBERTSON an email that

stated that Russian Company-4 wanted to ship the avionics equipment directly to Laos.

       65.     On or about April 27, 2022, ROBERTSON exchanged emails with

Individual-3 in which he stated, among other things, that “things are complicated in

USA,” and that the invoice amount needed to be less than $50,000 because, otherwise,

there would be “more paperwork and visibility” and “This is NOT the right time for

either.”

       66.      On or about April 29, 2022, ROBERTSON caused the avionics equipment

to be exported to Laos.

                     May 20, 2022 Export to Russian Company-1 via Cyprus

       67.     On or about April 26, 2022, Individual-1, who was the chief executive

officer of Russia Company-1, booked a flight from Russia to Cyprus scheduled to depart

on or about May 14, 2022.

       68.     On or about May 16, 2022, BUYANOVSKY ordered seven Honeywell

BendixKing KI-203 installation kits for Individual-1. These kits were on the CCL,

classified by BIS under ECCN 7A994, and required a license from the Commerce

Department to be exported or reexported to Russia.

       69.     On or about May 20, 2022, Individual-1 made a payment from a Cypriot

bank account to KanRus’s bank account for this export.

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       70.     On or about May 20, 2022, ROBERTSON caused the seven installation kits

to be exported to Individual-1 at a residential address in Cyprus.

       71.     On or about May 20, 2022, ROBERTSON caused the shipper to fail to file

an EEI in connection with this export.

       72.     On or about May 20, 2022, BUYANOVSKY emailed the invoice and

shipping label for this export to Individual-1.

       73.       On or about May 26, 2022, Individual-1 received the package of seven KI-

203 installation kits in Cyprus.

       74.     On or about May 28, 2022, Individual-1 flew back to Russia from Cyprus.

       75.     At no time did either ROBERTSON or BUYANOVSKY obtain the

required license from the Commerce Department to export or reexport the KI-203

installation kits to Russia.

                     June 16, 2022 Export to Russian Company-1 via Armenia

       76.     On or about June 9, 2022, Armenian Company-1 emailed BUYANOVSKY

and asked for an offer for eight KT-74 transponders to be exported to Yerevan, Armenia.

The eight transponders were the same make and model of the eight transponders that

ROBERTSON and BUYANOVSKY had attempted to export to Individual-1 of Russian

Company-1 in February 2022 as described in paragraphs 55 to 58. BUYANOVSKY then

forwarded the proposed invoice for the shipment to ROBERTSON and wrote that, “The

V [i.e., the first initial of Individual-1’s last name] connection requested an invoice and

for some reason they wanted the transportation cost to Yerevan. . . . Is export department

ok with this?”

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       77.    On or about June 16, 2022, ROBERTSON caused the eight KT-74

transponders to be exported to Armenian Company-1. The KT-74 transponders were on

the CCL, classified by BIS under ECCN 7A994, and required a license from the

Commerce Department to be exported or reexported to Russia.

       78.    On or about June 16, 2022, ROBERTSON caused the shipper to fail to file

an EEI for this export.

       79.    On or about June 28, 2022, Armenian Company-1 reexported the KT-74

transponders from Armenia to Russia.

       80.    At no time did either ROBERTSON or BUYANOVSKY obtain the

required license from the Commerce Department to export or reexport the KT-74

transponders to Russia.

                    July 18, 2022 Export to Russian Company-1 via Armenia

       81.    On or about July 11, 2022, ROBERTSON and BUYANOVSKY emailed

each other about another export to Armenian Company-1. The subject line of the email

exchange was, “V” – the first initial of Individual-1’s last name. BUYANOVSKY told

ROBERTSON that a “somewhat more proper sequence of events can now proceed” and

that “V will pay once they get the invoice.”

       82.    Also on or about July 11, 2022, Armenian Company-1 made a payment

from an Armenian bank account to KanRus’s bank account for eight Honeywell

BendixKing KA-61 L-Band antennas.

       83.    On or about July 18, 2022, ROBERTSON emailed the shipping documents

for this export to BUYANOVSKY and caused the export of the eight KA-61 antennas to

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Armenian Company-1. The KA-61 antennas were on the CCL, classified by BIS under

ECCN 7A994, and required a license from the Commerce Department to be exported or

reexported to Russia.

       84.    On or about July 18, 2022, ROBERTSON caused the shipper to fail to file

an EEI for this export.

       85.    On or about July 27, 2022, the Armenian company reexported the eight

KA-61 antennas to Russia.

       86.    At no time did either ROBERTSON or BUYANOVSKY obtain the

required license from the Commerce Department to export or reexport the KA-61

antennas to Russia.

       87.    All in violation of Title 18, United States Code, Section 371.

                                       COUNTS 2-4

        UNLAWFUL EXPORT OF U.S.-ORIGIN CONTROLLED GOODS TO RUSSIA
                              [50 U.S.C. § 4819]

       88.    The factual allegations in paragraphs 1 to 87 are hereby realleged and

incorporated as if set forth in this paragraph.

       89.    On or about the dates listed for each count, in the District of Kansas and

elsewhere, the defendants,

              CYRIL BUYANOVKSY, a.k.a. KIRILL BUYANOVSKY,
                                 and
                     DOUGLAS EDWARD ROBERTSON,




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knowingly and willfully exported and attempted to export and caused to be exported from

the United States to Russia the items identified for each count, without first having

obtained the required authorization and license from the Commerce Department:

  Count        Approximate Date of Export                      Exported Items

     2         May 20, 2022                        Seven (7) KI-203 installation kits

     3         June 16, 2022                       Eight (8) KT-74 transponders

     4         July 18, 2022                       Eight (8) KA-61 antennas


in violation of Title 50, United States Code, Section 4819; Title 15, Code of Federal

Regulations, Section 764.2; and Title 18, United States Code, Section 2.

                                       COUNTS 5-7

               SUBMITTING FALSE OR MISLEADING EXPORT INFORMATION
                                  [13 U.S.C. § 305]

         90.   The factual allegations in paragraphs 1 to 87 are hereby realleged and

incorporated as if set forth in this paragraph.

         91.   On or about the dates listed for each count, in the District of Kansas and

elsewhere, the defendants,

                CYRIL BUYANOVKSY, a.k.a. KIRILL BUYANOVSKY,
                                   and
                       DOUGLAS EDWARD ROBERTSON,

knowingly and willfully failed to file and submitted false and misleading information

through the Electronic Export Information and the Automated Export System, and caused

the same, in connection with the exported items identified in each count:



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  Count        Approximate Date of Export                     Exported Items

     5         February 4, 2021                    TRC-899 TCAS computer component

     6         February 26, 2021                   TPU-67A TCAS computer processor;
                                                   ART-2100 radar sensor
     7         April 1, 2021                       TPU-67B TCAS computer processor;
                                                   MST-67A transponder; two (2) IVA-81D
                                                   TCAS speed indicators; PS-578
                                                   transponder; ANT-67A antenna


in violation of Title 13, United States Code, Section 305; Title 15, Code of Federal

Regulations, Section 30.71; and Title 18, United States Code, Section 2.

                                      COUNTS 8-13

                     SMUGGLING GOODS FROM THE UNITED STATES
                                 [18 U.S.C. § 554]

         92.   The factual allegations in paragraphs 1 to 87 are hereby realleged and

incorporated as if set forth in this paragraph.

         93.   On or about the dates listed for each count, in the District of Kansas and

elsewhere, the defendants,

               CYRIL BUYANOVKSY, a.k.a. KIRILL BUYANOVSKY,
                                  and
                      DOUGLAS EDWARD ROBERTSON,

fraudulently and knowingly exported and sent and attempted to export and send from the

United States the merchandise, articles, and objects identified in each count, contrary to

the laws and regulations of the United States, to wit, Title 50, United States Code,

Section 4819; Title 15, Code of Federal Regulations, Section 764.2; Title 13, United

States Code, Section 305; and Title 15, Code of Federal Regulations, Section 30.71, and


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fraudulently and knowingly received, concealed, bought, sold, and facilitated the

transportation, concealment, and sale of such merchandise, articles, and objects, prior to

exportation, knowing the same to be intended for export contrary to such laws and

regulations of the United States:

  Count        Approximate Date of Export                     Exported Items

     8         February 4, 2021                    TRC-899 TCAS computer component

     9         February 26, 2021                   TPU-67A TCAS computer processor;
                                                   ART-2100 radar sensor
     10        April 1, 2021                       TPU-67B TCAS computer processor;
                                                   MST-67A transponder; two (2) IVA-81D
                                                   TCAS speed indicators; PS-578
                                                   transponder; ANT-67A antenna
     11        May 20, 2022                        Seven (7) KI-203 installation kits

     12        June 16, 2022                       Eight (8) KT-74 transponders

     13        July 18, 2022                       Eight (8) KA-61 antennas


in violation of Title 18, United States Code, Sections 554 and 2.

                                   FORFEITURE NOTICE

         94.   The allegations contained in paragraphs 1 to 93 and Counts 1-13 of this

Indictment are hereby realleged and incorporated by reference for the purpose of alleging

forfeiture pursuant to Title 50, United States Code, Section 4819, Title 13, United States

Code, Section 305, Title 18, United States Code, Section 981(a)(1)(C), and Title 28,

United States Code, Section 2461.

         95.   Upon conviction of one or more of the offenses set forth in Counts 1-4 of

this Indictment, the defendants shall forfeit to the United States, pursuant to Title 50,


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United States Code, Section 4819, any property: used or intended to be used in any

manner to commit or facilitate the offenses; constituting or traceable to the gross

proceeds taken, obtained, or retained, in connection with or as a result of the violations;

or constituting an item or technology that is exported or intended to be exported in

violation of the offenses. The property to be forfeited includes, but is not limited to, the

following:

      A. A forfeiture money judgment against each defendant in an amount equal to the
amount of gross proceeds obtained or derived by that defendant from the commission of
Counts 1-4.

       96.    Upon conviction of one or more of the offenses set forth in Counts 5-7 of

this Indictment, the defendants shall forfeit to the United States of America, pursuant to

Title 13, United States Code, Section 305, any interest in, security of, claim against, or

property or contractual rights of any kind in the goods or tangible items that were the

subject of the offenses; any interest in, security of, claim against, or property or

contractual rights of any kind in tangible property that was used in the export or attempt

to export that was the subject of the offenses; and any property constituting, or derived

from, any proceeds obtained directly or indirectly as a result of the offenses.

       97.    Upon conviction of one or more of the offenses set forth in Counts 8-13 of

this Indictment, the defendants shall forfeit to the United States of America, pursuant to

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

Section 2461, any property, real or personal, which constitutes or is derived from

proceeds traceable to the offenses. The property to be forfeited includes, but is not

limited to, the following:

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      A. A forfeiture money judgment against each defendant in an amount equal to the
amount of gross proceeds obtained or derived by that defendant from the commission of
Counts 8-13.

       98.    If any of the property described above, as a result of any act or omission of

the defendants:

       A.     cannot be located upon the exercise of due diligence;

       B.     has been transferred or sold to, or deposited with, a third party;

       C.     has been placed beyond the jurisdiction of the court;

       D.     has been substantially diminished in value; or

       E.     has been commingled with other property which cannot be divided without

              difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to Title 21, United States Code, Section 853(p).



                                           A TRUE BILL.



March 1, 2023                              s/Foreperson                x
DATE                                       FOREPERSON OF THE GRAND JURY


DUSTON J. SLINKARD
UNITED STATES ATTORNEY

By: /s/ Ryan Huschka
RYAN HUSCHKA
Assistant United States Attorney
District of Kansas
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    IT IS REQUESTED THAT THE TRIAL BE HELD IN KANSAS CITY, KANSAS




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                                    PENALTIES


Count 1, Conspiracy

     •       Punishable by a term of imprisonment of not more than five. 18 U.S.C. §
     371.

     •     A term of supervised release of not more than three years. 18 U.S.C. §
     3583(b)(2).

     •       A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

     •       A mandatory special assessment of $100. 18 U.S.C. § 3013(a)(2)(A).

     •       Forfeiture.


Counts 2-4, Export Goods to Russia

     •     Punishable by a term of imprisonment of not more than twenty years. 50
     U.S.C. § 4819.

     •     A term of supervised release of not more than three years. 18 U.S.C. §
     3583(b)(2).

     •       A fine not to exceed $1,000,000. 50 U.S.C. § 4819.

     •       A mandatory special assessment of $100. 18 U.S.C. § 3013(a)(2)(A).

     •       Forfeiture.


Counts 5-7, False Export Information

     •     Punishable by a term of imprisonment of not more than five years. 13
     U.S.C. § 305 and 15 C.F.R. § 30.71(a).

     •     A term of supervised release of not more than three years. 18 U.S.C.
     § 3583(b)(2).



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     •     A fine not to exceed $10,000 per violation. 13 U.S.C. § 305(a), (f); 18
     U.S.C. § 3571(e).

     •       A mandatory special assessment of $100. 18 U.S.C. § 3013(a)(2)(A).

     •       Forfeiture.


Counts 8-13, Smuggling

     •     Punishable by a term of imprisonment of not more than ten years. 18
     U.S.C. § 554.

     •     A term of supervised release of not more than three years. 18 U.S.C. §
     3583(b)(2).

     •       A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

     •       A mandatory special assessment of $100. 18 U.S.C. § 3013(a)(2)(A).

     •       Forfeiture.




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